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                                        October 23, 2018
VIA ELECTRONIC-FILING

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801-3556

       Re:     Citrix Systems, Inc. v. Workspot, Inc., C.A. No. 18-588-LPS

Dear Chief Judge Stark:

        The parties in the above-referenced matter write to request that the preliminary injunction
hearing, currently scheduled for December 19th, be rescheduled for the week of December 10th,
subject to the Court’s availability. Due to a personal matter, lead counsel for Workspot is
unavailable on December 19th. Consistent with the Court’s Oral Order (D.I. 100), Workspot
shall submit its surreply one week prior to the rescheduled hearing date. If the Court has
availability, Citrix prefers moving up the date for the hearing to the week of December 10th
instead of postponing the hearing until January. To the extent the Court is not available during
the week of December 10th, counsel for Workspot is available on the following dates: January 9-
11 or anytime week of January 14th.

       Counsel are available at the Court’s convenience should Your Honor have any questions.

                                                             Respectfully,
                                                             /s/ Bindu A. Palapura
                                                             Bindu A. Palapura
BAP:nmt/5972235/45039

cc:    Clerk of the Court (via hand delivery)
       Counsel of Record (via electronic mail)
